                                                          Leave toPage
      Case 1:14-cv-01904-EGS-ZMF Document 233 Filed 04/05/22       file GRANTED.
                                                                        1 of 2     The
                                                          Court construes this motion as a
                                                          Motion for Leave to File Motion to
                                                          Extend Discovery.
                       UNITED STATES DISTRICT COURT /s/_________________________
                                                          EMMET G. SULLIVAN
                       FOR THE DISTRICT OF COLUMBIA UNITED STATES DISTRICT
                                                          JUDGE
EUGENE NYAMBAL,                     )                     Dated: 4/5/2022
                                    )
      Plaintiff,                    )
                                    )
          v.                        )   Case No.: 1:14-cv-01904-EGS
                                    ) Honorable Judge Emmet. G. Sullivan
ALLIEDBARTON SECURITY               )
SERVICES, LLC,                      )
                                    )
      Defendant.                    )
_____________________________________

     REQUEST TO DEPOSE DEFENDANT’S WITNESSES AFTER THE CLOSING OF
     DISCOVERY FOR DEFENDANT’S COUNSEL’S UNEXPECTED RETIEREMENT

        Plaintiff Eugene Nyambal (“Plaintiff”), PRO SE, respectfully moves to inform the Court that

pursuant to the order of 12/2/2021 extending the discovery deadlines, he had initially sent notice to depose

Defendant’s deponents under Fed. R. Civ. P. 30(a)(1) and DC Local Rule 30.1, as shown in the Notice

of Deposition hereafter attached.

        However, it appears that Defendant’s counsel has retired effective April 1, 2022 without answering

Plaintiff’s Notice.

        In his Motion for Extension of Time to answer the outstanding requests for Production of Documents

and Admissions served on May 22 and 25, 2020, Counsel of the Insurance firm representing Defendant

sought and obtained the Court’s extension of discovery deadlines through April 1, 2022 to depose Plaintiff

and his witnesses. However, he never contacted Plaintiff for depositions.

        On the other hand, Defendant’s counsel retired without providing his list of witnesses after 8 years of

litigation on the grounds that he had reached an agreement with one of Plaintiff’s former attorneys in October

2018 to be dispensed from making his initial disclosures. Therefore, Plaintiff was not in a position to depose

Defendant’s witnesses in charge of operating, maintaining and updating the World Bank and IMF’s security

information management systems that were used for Mr, Nyambal’s blacklisting and placement on the “No




                                                                                                                 1
        Case 1:14-cv-01904-EGS-ZMF Document 233 Filed 04/05/22 Page 2 of 2



Admit Security list” at the World Bank and security officers who denied him access to the World Bank

buildings allegedly for security reasons.

        Based on the exceptional circumstances represented by the retirement of Defendant’s counsel and

given the fact that Plaintiff’s Notice of deposition was served before the closing of discovery deadlines,

Plaintiff can depose Defendant’s deponents after the closing of discovery upon an agreement with

Defendant’s incoming counsel without leave of the court pursuant to FRCP 30(a)(1).

        For courtesy and due to Plaintiff’s highest respect for the Court, he moves to seek to conduct his

initial deposition of Defendant’s deponents with leave of the court pursuant to FRCP 30 (a)(2) upon

agreeing with Defendant’s incoming counsel on the date and time of deposition of their deponents without

reopening discovery.

                                                                                   Respectfully submitted,



                                                                           EUGENE NYAMBAL
                                                                           PRO SE
                                                                           Email: enyambal@yahoo.com

EXHIBIT A: Notice of Deposition Sent to Defendant’s Counsel
                             CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that on this April 1, 2022 a true and correct copy of the foregoing
was served email transmission upon the following:

Edward C. Bacon (DC Bar No. 270124)
Richard S. Schrager (DC Bar No. 349530)
BACON, THORNTON & PALMER, LLP
6411 Ivy Lane, Suite 500
Greenbelt, MD 20770-1411
(301) 345-7001
ebacon@lawbtp.com
rschrager@lawbtp.com
Counsel for Defendant

                                                                          Eugene Nyambal, PRO SE
                                                                                     C/o Christine TAMBI
                                                                           9861 Good Luck Road, Appt. 2
                                                                                      Lanham, MD 20706
                                                                          Email: enyambal@yahoo.com


                                                                                                             2
